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   ─────────                                                                           ─────────
 DEBORAH BELL PASEUR2
                                                                                    1
                                                                                        ALSO ADMITTED IN D.C.
                                                                                            2
 JOHN J. SPARKMAN                                                                               OF COUNSEL

    (1899-1985)




                                                  July 5, 2019

 Clerk
 United States Bankruptcy Court
 P. O. Box 1289
 Decatur, AL 35602

         RE:        Lambert, Richard Farrell – Bankruptcy Case No.: 19-81655-CRJ-7

 Dear Madam Clerk:

        Pursuant to Bankruptcy Rule 2002(e), the original notice of the meeting of creditors
 mailed in the above-styled case provided that this matter had been sent to the trustee as a no asset
 case. Since then, I have discovered that there is property in the estate that I can potentially
 reduce to cash.

         I am investigating the value of the property to the estate and the feasibility of its
 liquidation for unsecured creditors. I will file either a request for status change or a no asset final
 report with the Court as soon as I complete my investigation.

                                                     Sincerely,

                                                     SPARKMAN, SHEPARD & MORRIS, P.C.




                                                     Tazewell T. Shepard

 TTS/jab

 cc:     Richard M. Blythe, Esq.




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